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__________________________________________________________________
                                          SO ORDERED,



                                          Judge Edward Ellington
                                          United States Bankruptcy Judge
                                          Date Signed: October 4, 2017

           The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
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